Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document      Page 1 of 10
Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document      Page 2 of 10
Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document      Page 3 of 10
Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document      Page 4 of 10
Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document      Page 5 of 10
Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document      Page 6 of 10
Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document      Page 7 of 10
Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document      Page 8 of 10
Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document      Page 9 of 10
Case 18-71768-pmb   Doc 43    Filed 04/08/19 Entered 04/08/19 14:21:01   Desc Main
                             Document     Page 10 of 10
